
USCA1 Opinion

	










                                [Not for Publication]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 96-1166

                       WILLIAM LECLAIRE AND MICHELLE LECLAIRE,

                               Plaintiffs, Appellants,

                                          v.

                         BLACKSTONE VALLEY ELECTRIC COMPANY,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                     [Hon. Ernest C. Torres, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________


            Mark L. Smith for appellants.
            _____________
            James A. Ruggieri with whom Higgins, Cavanagh &amp; Cooney was on
            _________________           __________________________
        brief for appellee.

                                 ____________________

                                  December 18, 1996
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                      STAHL, Circuit Judge.  Plaintiffs-appellants
                      STAHL, Circuit Judge.
                             _____________

            William and Michelle Leclaire commenced this diversity action

            against defendant-appellee Blackstone Valley Electric Company

            ("BVE") alleging negligence that led to injuries from

            electrocution.1  Leclaire appeals the district court's grant

            of BVE's motion for judgment as a matter of law and its

            denial of his motion for new trial.  Addressing each ruling

            in turn, we affirm.

                                          I.
                                          I.
                                          __

                             Judgment As a Matter of Law
                             Judgment As a Matter of Law
                             ___________________________

                      At the close of Leclaire's case in chief, the

            district court granted BVE's motion for judgment as a matter

            of law, pursuant to Fed. R. Civ. P. 50(a).  The court ruled

            that Leclaire failed to offer evidence from which a jury

            could reasonably find that BVE's alleged negligence caused

            Leclaire's injuries.  On appeal, Leclaire presses his

            contention that a jury could reasonably find that BVE




                                
            ____________________

            1.  For  simplicity, and  because Michelle  Leclaire's claims
            are  derivative of those of William Leclaire, we refer to the
            appellants collectively as "Leclaire."
                      We note also  that Leclaire  initially joined  E.W.
            Audet &amp; Sons, Inc.  ("Audet"), originally a  party-defendant,
            in this appeal.   Leclaire conceded  at oral argument  before
            this court,  however, that he  failed to produce  evidence to
            establish  any negligence on the part of Audet.  Accordingly,
            on November 8, 1996,  we ordered this appeal dismissed  as to
            Audet.   While the  case proceeds  as to  BVE only,  Audet is
            entitled to costs on appeal pursuant to Fed. R. App. P. 39.















            negligently installed an electrical wire, leading to the

            accident which caused his injuries.

            A.  Standard of Review
            ______________________

                      We review de novo the grant of a motion for
                                __ ____

            judgment as a matter of law.  Andrade v. Jamestown Hous.
                                          _______    _______________

            Auth., 82 F.3d 1179, 1186 (1st Cir. 1996); Bates v. Shearson
            _____                                      _____    ________

            Lehman Bros., Inc., 42 F.3d 79, 81 (1st Cir. 1994).  The
            __________________

            motion is properly granted when the evidence and inferences

            reasonably drawn therefrom, viewed most favorably to the non-

            movant, permit only one reasonable conclusion.  Resare v.
                                                            ______

            Raytheon Co., 981 F.2d 32, 34 (1st Cir. 1992).  In this
            ____________

            analysis, "we may not consider the credibility of witnesses,

            resolve conflicts in testimony, or evaluate the weight of the

            evidence."  Wagenmann v. Adams, 829 F.2d 196, 200 (1st Cir.
                        _________    _____

            1987).

                      Nevertheless, the non-movant's evidence "must

            comprise more than fragmentary tendrils:  a mere scintilla of

            evidence is not enough to forestall a [judgment as a matter

            of law], especially on a claim or issue as to which the

            burden of proof belongs to the objecting party."  Fashion
                                                              _______

            House, Inc. v. K mart Corp., 892 F.2d 1076, 1088 (1st Cir.
            ___________    ____________

            1989).  The non-movant "may not rely on conjecture or

            speculation, rather the evidence offered must make the

            `existence of the fact to be inferred more probable than its

            nonexistence.'"  Richmond Steel, Inc. v. Puerto Rican Am.
                             ____________________    ________________



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            Ins. Co., 954 F.2d 19, 22 (1st Cir. 1992) (quoting Carlson v.
            ________                                           _______

            American Safety Equip. Corp., 528 F.2d 384, 386 (1st Cir.
            ____________________________

            1976)).

                      With these principles in mind, we review the trial

            evidence in the light most favorable to Leclaire.

            B.  Facts
            _________

                      On April 27, 1994, William Leclaire sustained

            severe injuries when a piece of aluminum coil that he was

            holding struck an aerial primary-distribution wire carrying

            some 8000 volts of electricity.  At the time of the accident,

            Leclaire, an experienced vinyl and aluminum siding installer,

            was applying aluminum trim to a three-story residential

            building on Chester Street in Woonsocket, Rhode Island.  He

            was working on an aluminum staging unit that he had erected

            in order to reach the top story.  The staging unit, which

            Leclaire had placed approximately one foot from the front of

            the house, extended approximately fifty-six inches in the

            direction of several wires attached to two utility poles.

                      Working from right to left along the front of the

            house, Leclaire, without incident, installed beneath the roof

            line two segments of aluminum trim, each approximately nine-

            feet six-inches in length.  He was situated near the left

            side of the house when the accident occurred.  As he turned

            to install the third and last segment, the aluminum trim came

            into contact with the primary-distribution electrical wire,



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            the top wire running between the two poles.  The ensuing

            electrical shock threw Leclaire some twenty-five feet to the

            ground, leaving him with a broken back and severe burns.

                      BVE had upgraded the electrical service in the

            Chester Street area in late 1987 or early 1988.  The upgrade

            project included the installation of new utility poles and

            hardware to which several electrical wires were to be

            attached.  BVE's engineering department provided the

            specifications to its installation subcontractor for the

            placement of the primary distribution wire.  For the upgrade

            project, BVE's design operated under the accepted standards

            of the National Electrical Safety Code, which required that

            wires such as the primary distribution wire be placed at

            least five feet (sixty inches) from buildings.

                      At the time of the upgrade, a wooden device called

            a "cross-arm," attached to the top of a utility pole, could

            have provided extra clearance between the wires and the

            adjacent structures.  Although the upgrade specifications did

            not call for the use of a cross-arm, BVE's engineering

            department would, on occasion, authorize a deviation from its

            usual specification to allow for a cross-arm in order to

            satisfy the five-foot standard.  The specifications did

            authorize the use of a special "MIF" bracket, if necessary,

            in order to meet the five-foot standard.





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                      Following the accident, Robert Mowry, a BVE crew

            chief, located a burn mark on the wire, across from the left

            side of the house, where the aluminum trim segment had come

            into contact with it.  Mowry found the distance from the burn

            mark to the point of the house closest to the wire to be

            sixty inches.  At a later date, James O. Corriveau, a witness

            for Leclaire, measured the distance from the wire to the

            house at both the extreme right and left sides of the house

            front.  Corriveau found that the wire was "roughly around"

            fifty-three to fifty-four inches from the right side, and

            "around sixty-two inches, somewheres around there" from the

            left.2

                      Leclaire's expert witness, Donald W. Zipse,

            testified that because the wire failed to meet the five-foot

            standard on the right side of the house, the wire was not

            safely installed.  Zipse conceded, however, that at each

            point where the wire was five feet or more from the house, it

            did satisfy the clearance standard.  Zipse further testified

            that, in 1987 or 1988, he had on one occasion installed an

            insulated version of an aerial primary distribution wire

            similar to the one on Chester Street.  He did not testify

            why, when or where he used the insulated wire, nor did he



                                
            ____________________

            2.  Corriveau also  testified that, at the  extreme left-hand
            side of the house,  the wire was some forty  inches below the
            roof line.

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            explain under what circumstances insulated wires would or

            should be used.

            C.  Discussion
            ______________

                      At trial, Leclaire attempted to establish that

            BVE's placement of the electrical wire violated the five-foot

            clearance standard of the National Electrical Safety Code. 

            On the Rule 50(a) motion, the district court found that the

            only evidence tending to show that BVE had failed to meet any

            applicable standard of care was the clearance shortfall

            located on the right side of the house, well away from the

            contact point between the aluminum strip and the wire.  The

            uncontroverted evidence established, however, that the

            distance between the house and the contact point was five

            feet.  Because Leclaire did not prove that the failure to

            meet the clearance standard at a different point caused the

            accident, the court granted BVE's motion for judgment as a

            matter of law.

                      Upon careful review of the record, we agree that

            there is no evidence from which a jury could rationally find,

            by a preponderance of the evidence, that the failure to meet

            the clearance standard at the right side of the house caused

            or contributed to the accident at the left, where the

            standard was shown to have been satisfied.  The absence of

            such evidence precludes Leclaire from prevailing on a

            negligence claim based on a violation of the clearance



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            standard.  See Radcliffe v. Haun, 593 So. 2d 824, 826 (La.
                       ___ _________    ____

            Ct. App. 1992) (finding no evidence of causation where

            electric company's power-line clearance infractions occurred

            at points other than plaintiff's location when he was

            injured), writ denied, 599 So. 2d 313 (La. 1992); see also
                      ____ ______                             ___ ____

            Kennedy v. Tempest, 594 A.2d 385, 388 (R.I. 1991) (explaining
            _______    _______

            that a plaintiff in a negligence action must establish not

            only duty and breach, "but also that the defendant's

            negligence was the proximate cause of the plaintiff's

            injury"); Schenck v. Roger Williams Gen. Hosp., 382 A.2d 514,
                      _______    _________________________

            517 (R.I. 1977) (explaining that a verdict for plaintiff in

            negligence action absent competent evidence establishing a

            causal connection would only "be based on conjecture and

            speculation").

                      Leclaire does not dispute this conclusion as a

            matter of law or logic; he argues, instead, that the jury was

            free to disregard Mowry's testimony that the clearance at the

            point of contact was sixty inches.  It is clear, however,

            that in the context of a Rule 50(a) motion, "a bare assertion

            that the opposing party's uncontroverted evidence might be

            disbelieved is insufficient to resist judgment as a matter of

            law on an issue as to which the party resisting judgment

            bears the burden of proof."  Favorito v. Pannell, 27 F.3d
                                         ________    _______

            716, 721 (1st Cir. 1994) (upholding grant of Rule 50(a)

            motion where non-movant "relied entirely on the totally



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            unsupported speculation that a jury might disbelieve [a

            witness's] uncontroverted testimony").  This rule has no less

            application where, as here, the party resisting judgment

            introduced the uncontroverted evidence.

                      In a related vein, Leclaire asserts that, on a

            motion for judgment as a matter of law, the district court

            must consider only evidence favorable to him, and thus, it

            should have disregarded entirely Mowry's testimony

            establishing the five-foot clearance at the point of the burn

            mark.  Leclaire's argument misconstrues the law.  While the

            district court (and this court on review) must view the

            evidence in the light most favorable to the non-movant, the

            analysis does not necessitate the complete disregard of

            uncontroverted evidence that happens to be unfavorable to

            that party.  See Layne v. Vinzant, 657 F.2d 468, 472 (1st
                         ___ _____    _______

            Cir. 1981) ("[W]hile, on a defendant's motion [for judgment

            as a matter of law], it is axiomatic that the evidence is to

            be viewed in the light most favorable to the plaintiff, the

            `field of vision' encompasses, to a degree, uncontradicted

            evidence introduced by the defense.").3

                                
            ____________________

            3.  Leclaire cites Samuels v. Hood  Yacht Sys. Corp., 70 F.3d
                               _______    ______________________
            150, 152-53 (1st  Cir. 1995),  to support his  claim that  he
            should not  be bound by his  witness's unfavorable testimony.
            In Samuels,  plaintiffs' witness testified  ambivalently both
               _______
            in favor  of and adverse to the plaintiffs' case  Id. at 152.
                                                              ___
            We reversed the district court's directed verdict, explaining
            that  the  plaintiffs  "were  not  bound  by  their  expert's
            reversal," but rather, "a witness may be believed in part and
            disbelieved in part  . .  . [w]here [the  witness] was  self-

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                      In the alternative to his argument that the jury

            could disbelieve Mowry's testimony, Leclaire highlights

            evidence that, he claims, reasonably conflicts with the five-

            foot measurement.  Specifically, Leclaire asserts that

            because the wire was short of the standard on the right side,

            but exceeded the standard on the left, the jury could have

            found that the distance from the contact point was less than

            five feet.  We disagree.  Leclaire presented only rough

            measurements coupled with his approximate location (as he

            held the nine-foot six-inch aluminum trim segment), some two-

            thirds down towards the left side of the house, at the time

            of the accident.  He did not provide, with any specificity, a

            measurement of the burn mark location as between the right

            and left sides of the house.  Finally, he introduced no

            testimony to assist the jury in making any mathematical

            calculation to support the asserted fact.  A jury finding

            cannot be based on this type of unguided reasoning, and on

            this state of the evidence, a jury could not reasonably find

            that the wire was less than five feet from the house at the

            point of contact.

                      Leclaire finally argues that the jury could have

            found that BVE breached a duty independent of the clearance

            standard.  To this end, he asserts that "common sense"

                                
            ____________________

            contradictory."   Id. at 152,  153 (citation  omitted).   The
                              ___
            absence  of  such  self-contradiction  here  renders  Samuels
                                                                  _______
            inapposite.

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            dictates that BVE should have foreseen that the Chester

            Street residence would require periodic maintenance such as

            siding, and thus, BVE should have insulated the primary

            distribution wire, or placed the wire farther from the

            building.  The evidence presented, however, would not support

            a finding of negligence on this theory.

                      Under Rhode Island law, it is well-established that

            "a reasonable and legitimate inference that someone was

            negligent is not necessarily warranted by the mere happening

            of an accident."  Montouri v. Narragansett Elec. Co., 418
                              ________    ______________________

            A.2d 5, 9 (R.I. 1980).  Rather, the plaintiff must produce

            sufficient, competent evidence of the essential elements of a

            negligence claim, including the defendant's duty to the

            plaintiff and the breach of that duty.  See id. at 9-10;
                                                    ___ ___

            Radigan v. W.J. Halloran Co., 196 A.2d 160, 163 (R.I. 1963)
            _______    _________________

            ("In every instance before negligence can be predicated of a

            given act, back of the act must be sought and found a duty to

            the individual complaining, the observance of which duty

            would have averted or avoided the injury" (quotation and

            citation omitted)).  While Rhode Island courts recognize that

            companies distributing electricity must exercise great care

            in their operations, see Rott v. Blackstone Valley Gas &amp;
                                 ___ ____    _______________________

            Elec. Co., 106 A.2d 251, 255 (1954), the evidence presented
            _________

            must be sufficient to allow a finding that BVE failed to

            exercise such a degree of caution in this case.



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                      Leclaire did not produce evidence sufficient to

            prove that BVE negligently failed to insulate the primary

            distribution wire.  In Rhode Island "there is no absolute

            duty to insulate wires carrying electricity."  Rott, 106 A.2d
                                                           ____

            at 254.  In Rott, the plaintiff claimed that he informed the
                        ____

            electric company that high tension wires were interfering

            with a construction project, but the company took no steps to

            diminish the danger.  Id. at 253.  The court held that, under
                                  ___

            the alleged facts, a duty to insulate high tension wires

            could arise "by reason of special circumstances" of which the

            defendant had knowledge.  Id. at 254.  Here, no such
                                      ___

            circumstances were shown.  Leclaire did not show that BVE had

            knowledge of his siding project on Chester Street; indeed,

            Leclaire admitted that, although he had previously informed

            electric companies when wires interfered with his work, he

            failed to do so here.  Moreover, as indicated above, the

            expert Zipse's unembellished testimony that he once used an

            insulated wire in 1987 or 1988 is utterly unhelpful in this

            regard.

                      Leclaire also failed to show that BVE violated some

            duty to place the wire farther away from the Chester Street

            residence.  The evidence that special brackets or cross-arms

            were available to satisfy the five-foot clearance standard

            does nothing to prove that BVE violated a duty to exceed that
                                                              ______

            standard through the use of those alternatives.  No witness



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            opined that the five-foot standard was inadequate, nor was

            there evidence even hinting at what a specific "appropriate"

            distance from the house would have been.  On the contrary,

            abundantly clear from the record is Leclaire's attempt to

            establish negligence based on the violation of the five-foot

            standard.  We are unpersuaded by his endeavor to fashion a

            different theory of negligence from the evidence.

                                         II.
                                         II.
                                         ___

                                Motion For a New Trial
                                Motion For a New Trial
                                ______________________

                      Leclaire appeals the district court's denial of his

            motion for a new trial, purportedly sought under the

            authority of Fed. R. Civ. P. 50(c)(2).  He advances no

            arguments other than those which we have already found

            unavailing.  Thus, assuming but not deciding that a Rule

            50(c)(2) motion for new trial will lie where, as here, a case

            has not gone to the jury,4 we find no abuse of discretion in

            the district court's denial of the motion.

                                         III.
                                         III.
                                         ____

                                      Conclusion
                                      Conclusion
                                      __________

                      For the foregoing reasons, the judgment of the

            district court is affirmed.

                      Costs to appellees.
                      Costs to appellees.
                      ___________________

                                
            ____________________

            4.  The advisory  committee's note  to the 1963  amendment of
            Rule  50  suggests that  relief  under  subsection (c)(2)  is
            limited to a verdict-winner who loses on a renewed motion for
                         ______________
            judgment  as a matter  of law.   Fed. R. Civ.  P. 50 advisory
            committee's note.

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